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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

MARCUS WILSON                                       §
     Plaintiff,                                     §
                                                    §
VS.                                                 §    Civil Action No. 4:18-CV-162
                                                    §
TEICHMAN GROUP, LLC., et al.,                       §
     Defendants.                                    §

                       PLAINTIFF’S NOTICE OF DISMISSAL
                 OF CHERAMIE MARINE, LLC WITHOUT PREJUDICE 1

       Plaintiff hereby provides notice of dismissal pursuant to FRCP 41(a)(1)(A)(i) of

Cheramie Marine, LLC from the instant case without prejudice. Cheramie Marine, LLC has not

yet filed an answer or a motion for summary judgment. Plaintiff files this notice of dismissal

with the intention of dismissing the case without prejudice as to refiling. Pursuant to local rule

7.1(h), no certificate of conference is required.

                                               Respectfully submitted,

                                               THE BUZBEE LAW FIRM

                                                    By: /s/ Anthony G.Buzbee
                                                        Anthony G. Buzbee
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                                                        Federal Bar No. 22679
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                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of this document has been duly served on all
interested parties in accordance with the Federal Rules of Civil Procedure on the January 22, 2018,
as set forth below:


                                                              /s/ Christopher J. Leavitt
                                                                 Christopher J. Leavitt




                                                2
